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                          Appendix A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------
                                                          x
                                                          :
UNITED STATES OF AMERICA                                  :
                                                          :           S5 22 Cr. 673 (LAK)
                  v.                                      :
                                                          :
SAMUEL BANKMAN-FRIED,                                                 [PROPOSED] ORDER
                                                          :
         a/k/a “SBF,”                                     :
                                                          :
                                  Defendant.
                                                          :
-------------------------------------------------------------------
                                                          x


         WHEREAS, counsel for the defendant request that defendant Samuel Bankman-Fried

(Reg. No. 37244-510) be permitted to wear business attire clothing while he is in Courtroom

26A for the duration of his criminal trial commencing October 3, 2023; and

         WHEREAS, counsel for the defendant seek to provide articles of business attire clothing

to the United States Marshals Service (“USMS”) and/or the Bureau of Prisons Metropolitan

Detention Center (“MDC”) for the defendant to wear in Courtroom 26A;

         IT IS HEREBY ORDERED that the USMS and/or MDC permit and make appropriate

arrangements for the defendant to wear business attire clothing while he is in Courtroom 26A for

the duration of his criminal trial commencing October 3, 2023; and

         IT IS FURTHER ORDERED that the USMS and/or MDC accept and maintain on the

defendant’s behalf the following articles of clothing to be provided by defense counsel: three (3)

suits (consisting of slacks and jackets); four (4) dress shirts; three (3) ties; one (1) belt; four (4)

pairs of socks; two (2) pairs of shoes; and appropriate undergarments.

SO ORDERED.


Dated: September ____, 2023                                ________________________________
       New York, New York                                  The Honorable Lewis A. Kaplan
                                                           United States District Judge
